Case 2:05-Cv-02007-.]PI\/|-tmp Document 8 Filed 07/19/05 Page 1 of_ 2 Page|D 10

UNITED sTATEs DISTRICT coUR B"- llc-
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BEVERLY JOYCE WATKINS, JUDGMENT IN A CIVIL CASE

Plaintiff,
v.

SHELBY COU'NTY I-IEALTH

CARE CORPORATION d/b/a

the REGIONAL MEDICAL CENTER,
et al.,

CASE NO: 05-2007 Ml/P

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Denying Defendants' Motion to Consolidate, Order
Granting Plaintiff's Motions to Amend Filed on January 14, 2005,
and January 18, 2005, Order of Dismissal, Order Certifying Appeal
Not Taken in Good Faith, and Notice of Appellate Filing Fee,
entered July 19, 2005, this case is DISMISSED.

APPROVED- (@`QQ
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UNIT'AT'S,ED`TE DISTCRIT COURT - WESTNERDISTCRIT oFTi\INEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02007 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

David P. J aqua

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Honorable J on McCalla
US DISTRICT COURT

